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UNITED STA'I`ES DlS'l`RICT COUR'|`
MIDDLE DlS'l`RlC'l` OF FLORIDA 16 UC 90
F'r. MYERS plvlsloN UU AH tZ= 08
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DEREK DESHANE, on behalf of ) MWD}_L]§ til$;§ic]"_ L'.~,: _c “6§‘|?)":
himself and others similarly situated. ) ' ' ‘ Y»"->' r L RlDA
)
Plaintifi`, )
) Civil Action No.:
v. ) ' .
MONARCH RECOVERY )
MANAGEMEN'I`, lNC. ) Class Action Complaint
)
Defendant. ) Jury Trial Demanded
)
Nature of the Action
l. Derek Deshane (“Plaintifl") brings this class action against Monarch Recovery

Management, Inc. (“Defendant”) under the Tclcphone Consumer Protection Act (“TCPA”), 47
U.S.C. § 227, and the Fair Debt Collection Practiccs Act (“FDCPA"). 15 U.S.C. § 1692d.

2. Section 227(b)(l)(A)(iii) of the TCPA sets forth restrictions on the use of automated
telephone equipment and prerecorded voice calls, and provides in pertinent part:

It shall be unlawful for any person within the United States. or any person outside the
United States if the recipient is within the United States -

(A) to make any call (other than a call made for emergency purposes or made
with the prior express consent of the called party) using any automatic
telephone dialing system or an artificial or prerecorded voice -

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(iii) to any telephone number assigned to a paging service, cellular telephone
service, specialized mobile radio service, or other radio common carrier
service, or any service for which the called party is charged for the call,

unless such call is made solely to collect a debt owed to or guaranteed by the
United States[.]

3. Upon information and beliel`. Del`endant routinely violates 47 U.S.C. §

227(b)(l)(A)(iii) by placing non-emergency telephone calls to consumers’ cellular telephone

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numbers by using an automatic telephone dialing system. without the prior express consent of the
consumers, in that Defendant repeatedly dials wrong or reassigned phone numbers that do not belong
to the intended recipients of its calls.

4. Section 1692d of the FDCPA provides:

A debt collector may not engage in any conduct the natural consequence of which is

to harass, oppress, or abuse any person in connection with the collection of a debt.

Without limiting the general application of the foregoing, the following conduct is a
violation of this section:

$>l¢>l¢>i¢>:<

(5) Causing a telephone to ring or engaging any person in telephone conversation
repeatedly or continuously with intent to annoy, abuse, or harass any person
at the called number.

5. Upon information and good faith belief. Defendant routinely violates 15 U.S.C. §
l692d by engaging in conduct the natural consequence of which is to harass, oppress, or abuse
consumers in connection with the collection of debts. in that it continues to call consumers for the
purpose of debt collection even after being informed that it is calling the wrong person.

Jurisdiction

6. This Court has subject matter jurisdiction pursuant to 47 U.S.C. § 227(b)(3), l5
U.S.C. § l692k(d), and 28 U.S.C. § 1331.

7. Venue is proper before this Court pursuant to 28 U.S.C. § l39l(b), where Plaintiff
resides in this State and in this District. a substantial part ofthe events giving rise to Plaintiff"s action
occurred in this State and in this District. and where Defendant transacts business in this State and in
this District.

Parties
8. Plaintiff is a natural person who at all relevant times resided in Ft. Myers Beach,

Florida.

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9. Plaintiff is a “consumer" as defined by 15 U.S.C. § 1692a(3).

10. Defendant is a Pennsylvania-based debt collection company that touts itself as a
“premier accounts receivable management company."'

l l. Defendant is an entity that at all relevant times was engaged. by use of the telephone,
in the business of attempting to collect from Plaintiff a “debt”_in default-as defined by 15 U.S.C.
§ l692a(5).

12. Defendant is a “debt collector" as defined by 15 U.S.C. § 1692a(6).

Factual Allegations

13. Defendant has a public Utility Commission of Texas Automatic Dial Announcing
Device permit, no. 060317, which it first obtained in 2007 and last renewed in November 2015.2

14. Defendant states that it utilizes “the latest technology” in its debt collection efforts,
including its “Best-in-class dialer system” and "Full call recording.”3

15. In an attempt to contact a third party named “William,” for the purpose of attempting
to collect a debt in default, Defendant placed numerous calls-over the course of months_to
cellular telephone number (239) 204-xxxx_a number for which Plaintiff is the sole subscriber.

16. By way of example, Defendant called Plaintiff"s cellular telephone number on, among
other dates, September 13, 2016, September 14. 2016, September 16, 2016, and September 17, 2016.

17. Upon information and good faith belief. Defendant’s records will show additional

calls made by it to Plaintiff’ s cellular telephone number with an automatic telephone dialing system.

 

l See http://monarchrm.com/about-us/ (last visited Oct. 14. 2016).

2 See https://www.puc.texas.gov/industry/communications/directories/adad/

report_adad.aspx?ID=ADSQLOlDBl 245380200007 (last visited Oct. 14, 2016).

3 See http://monarchrm.com/services/technology-approaches/ (last visited Oct. 14, 2016).

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18. Defendant called Plaintiff" s cellular telephone number from telephone number (844)
205-2138, a number assigned to Defendant.

19. Defendant placed all of the above-referenced calls in an effort to contact and collect a
debt allegedly owed by a third party, unknown to Plaintiff. named “William”.

20. On multiple occasions, Plaintiff answered Defendant’s calls and spoke to one of
Defendant’s employees.

21. Plaintiff explained that Defendant had the wrong number, did not know the person
Defendant was calling for, and requested that Defendant stop calling him.

22. Defendant informed Plaintiff on each of these occasions that it would stop calling
him.

23. No matter, despite Plaintist demands that the calls stop, and despite informing
Defendant that it was calling the wrong person,. Defendant continued to place calls to Plaintiff’s
cellular telephone number.

24. Upon answering several of Defendant’s calls, a noticeable pause greeted Plaintiff
before being connected with a live customer service representative

25. Upon information and good faith belief. and in light of the frequency, character, large
number, and nature of the calls, Defendant placed the above-referenced calls to Plaintiff s cellular
telephone number using an automatic telephone dialing system, as defined by 47 U.S.C. § 227(a)(1).

26. Upon information and good faith belief`, and in light of the frequency, large number,
nature, and character of the calls, Defendant placed its calls to Plaintist cellular telephone number
by using (a) equipment which has the capacity (i) to store or produce telephone numbers to be called,
using a random or sequential number generator, and (ii) to dial such numbers, or (b) technology with
the capacity to dial random or sequential numbers. or (c) hardware, software, or equipment that the

FCC characterizes as an automatic telephone dialing system through the following, and any related,

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declaratory ruling and order: ln the Maller ofRu/es and Regulations l)nplememing the Telephone
Consumer Protection Act Qf1991, FCC 15-72 (adopted .lune 18. 2015 and released July 10, 2015).

27. Upon information and good faith belief , and in light of the frequency, large number,
nature, and character of the calls, Defendant placed its calls to Plaintiff"s cellular telephone number
by using (a) an automated dialing system that uses a complex set of algorithms to automatically dial
eonsumers’ telephone numbers in a manner that “predicts” the time when a consumer will answer
the phone and a person will be available to take the call. or (b) equipment that dials numbers and,
when certain computer software is attached. also assists persons in predicting when a sales agent will
be available to take calls, or (c) hardware, that when paired with certain software, has the capacity to
store or produce numbers and dial those numbers at random, in sequential order, or from a database
of numbers, or (d) hardware, software. or equipment that the FCC characterizes as a predictive dialer
through the following, and any related, reports and orders, and declaratory rulings: In the Matter of
Rules and Regulatz'ons Implementing the Telephr)ne Cc)nsumer Pro!eclir)n Act of 1991, 17 FCC Rcd
17459, 17474 (September 18, 2002): In the Ma!ler Q/` Rules and Regulations Implementing the
Telephone Consumer Proteclion Acl ofl99l. 18 FCC Rcd 14014. 14092-93 (July 3, 2003); In the
Matler of Rules and Regularir)ns Implemenling the Telephone Cr)nsumer Prolection Act of I 991 , 23
FCC Rcd 559, 566 (.1 an. 4, 2008); ln the Maller of Rules and Regulations Implementing the
Telephone Consumer Proteclion Act Q/`I 991. FCC 15-72 (adopted June 18, 2015 and released July
10,2015)

28. Upon information and good faith belief , Defendant utilizes hardware and software
with the capacity to store telephone numbers and to dial such numbers sequentially, predictively, or
randomly, and to dial telephone numbers without human intervention.

29. Upon information and good faith belief. Defendant used such hardware and software

to place the calls at issue to Plaintiff`s cellular telephone number.

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30. Defendant placed. or caused to be placed. additional calls to Plaintiff’s cellular
telephone number, which are not specifically outlined above.

31 . Defendant placed the telephone calls set forth above to a telephone number assigned
to a cellular telephone service, of which Plaintii`fis the subscriber and for which Plaintiff pays the
monthly bill.

32. Defendant did not have Plaintiff"s prior express consent to make any calls to
Plaintiff’s cellular telephone number.

33. Rather, Defendant was attempting to reach a third party named William who is
unknown to Plaintiff.

34. Plaintiff never provided his cellular telephone number to Defendant.

35. Plaintiff never had any business relationship with Defendant.

36. Defendant did not place any calls to Plaintiffs cellular telephone number for
emergency purposes.

37. Upon information and good faith belief`, Defendant placed the calls to Plaintiff at
issue willfully and knowingly in that it consciously and deliberately made the calls referenced
herein.

38. Upon information and good faith belief , Defendant had knowledge that it was using,
and intended to use, an automatic telephone dialing system to place the calls at issue to Plaintiff.

39. In addition, and upon information and good faith belief. Defendant had knowledge
that it was using, and intended to use. an automatic telephone dialing system to make the telephone
calls at issue to Plaintiff.

40. Plaintiff suffered harm as a result of Defendant’s telephone calls at issue in that he

suffered an invasion of his privacy. an intrusion into his life. and a private nuisance.

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4l. As well, Defendant’s telephone calls at issue depleted or consumed, directly or
indirectly, Plaintiff`s cellular telephone minutes. for which he paid a third party.
42. Additionally, the unwanted calls at issue unnecessarily tied up Plaintiff’s telephone
line.
43. As a result of unwanted calls to his cellular telephone, Plaintiff activated a call
blocking application for which he pays a monthly fee.
Class Action A|legations
44. Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
Procedure 23(a) and (b) on behalf of himself and two classes of similarly situated individuals as
defined below:
TCPA Class
All persons and entities throughout the United States (l) to whom Monarch
Recovery Management. Inc. placed, or caused to be placed. calls (2) directed
to a number assigned to a cellular telephone service. by (3) using an
automatic telephone dialing system or an artificial or prerecorded voice, (5)
in the four years preceding the filing of this complaint, (6) absent prior
express consent_in that the called party was not the intended recipient of
Monarch Recovery Management, Inc.`s calls.
FDCPA Class
All persons and entities throughout the United States (1) to whom Monarch
Recovery Management. Inc. placed, or caused to be placed. calls, (2) within
one year preceding the date of this complaint, (3) and in connection with the
collection of a consumer debt. (4) after the called party informed Monarch
Recovery Management, Inc. that it was calling the wrong person.
Exc|uded from the classes are Defendant. its officers and directors, members of their immediate
families and their legal representatives heirs, successors. or assigns. and any entity in which
Defendant has or had a controlling intercst.

45. The proposed classes are so numerous that. upon information and belief, joinder of all

members is impracticable

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46. The exact number of members of the classes is unknown to Plaintiff at this time and
can only be ascertained through appropriate discovery.

47. The proposed classes are ascertainable because they are defined by reference to
objective criteria and, upon information and belief. the cellular telephone numbers of all members of
the classes can be identified in business records maintained by Defendant and third parties.

48. Plaintiff"s claims are typical of the claims of the members of the classes because
Plaintiff and all of the class members’ claims originate from the same conduct, practice and
procedure on the part of Defendant and Plaintiff possesses the same interests and has suffered the
same injuries as each class member.

49. Like all members ofthe proposed TCPA Class, Plaintiff received telephone calls from
Defendant using an automatic telephone dialing system. without his consent, in violation of 47
U.S.C. § 227.

50. Further, like all members of the proposed FDCPA Class, Plaintiff received telephone
calls from Defendant in connection with the collection of`a consumer debt that he did not owe, aRer
informing Defendant that it was calling the wrong person.

51 . Plaintiff will fairly and adequately protect the interests of the members of the classes
and has retained counsel experienced and competent in class action litigation. Plaintiff has no
interests that are contrary to or in conflict with the members ofthe classes that he seeks to represent.

52. A class action is superior to all other available methods for the fair and efficient
adjudication of this controversy, sincejoinder of all members is impracticable

53. Furthermore, as the damages suffered by individual members of the classes may be
relatively small, the expense and burden of individual litigation make it impracticable for the
members of the classes to individually redress the wrongs done to them.

54. There will be little difficulty in the management of this action as a class action.

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55. Issues of law and fact common to the members of the classes predominate over any
questions that may affect only individual members. in that Defendant has acted on grounds generally
applicable to each class. Among the issues of law and fact common to the classes are:

a. Defendant’s violations of the TCPA as alleged herein;

b. Defendant`s violations of the FDCPA as alleged herein;

c. Defendant’s use of an automatic telephone dialing system;

d. Defendant’s practice of making calls to wrong or reassigned telephone numbers;

e. Defendant’s practice of continuing to call consumers after being informed it is
calling the wrong number; and

f. the availability of statutory damages

56. Absent a class action, Defendant’s violations of the law will be allowed to proceed
without a full, fair, judicially supervised remedy.

Count l: Violations of 47 U.S.C. § 227(b)(1)(A)(iii)

57. Plaintiff repeats and re-alleges each and every factual allegation contained in
paragraphs 1 - 56.

58. Defendant violated 47 U.S.C. § 227(b)(1 )(A)(iii) by utilizing an automatic telephone
dialing system to make and/or place telephone calls to Plaintiff s cellular telephone number, without
his consent.

59. As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1)(A)(iii), Plaintiff and
the TCPA Class are entitled to damages in an amount to be proven at trial.

Count Il: Violations of 15 U.S.C. § l692d and § 1692d(5)
60. Plaintiff repeats and re-alleges each and every factual allegation contained in

paragraphs l - 56.

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61. Defendant violated 15 U.S.C. § 1692d by engaging in conduct the natural
consequence of which is to harass, oppress. or abuse Plaintiff in connection with the collection of a
debt.

62. Defendant violated 15 U.S.C. § 1692d(5) by causing Plaintiff`s cellular telephone to
ring repeatedly or continuously. and by engaging Plaintiff in telephone conversations repeatedly or
continuously, with intent to annoy, abuse. or harass Plaintiff at the called number. Defendant did so
by repeatedly dialing Plaintiff s cellular telephone number after being informed it was calling the
wrong person and after being instructed to stop calling.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

(a) Determining that this action is a proper class action and designating Plaintiff
as class representative under Rule 23 of the Fedcral Rules of Civil Procedure;

(b) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii), and
enjoining Defendant from continuing to place calls to Plaintiff`s cellular telephone number, from
placing calls to consumers’ cellular telephone numbers by using an automatic telephone dialing
system without the prior express consent ofthe consumers, and from committing further violations
of47 U.S.C. § 227(b)(1)(A)(iii);

(c) Adjudging that Defendant violated 15 U.S.C. § l692d and 15 U.S.C. §
l692d(5), and enjoining Defendant from further violations of 15 U.S.C. § 1692d and 15 U.S.C. §
l692d(5) with respect to Plaintiff and the other members of the FDCPA Class;

(d) Awarding Plaintiff and members of the TCPA Class actual damages or
statutory damages pursuant to 47 U.S.C. § 227(b)(3) in an amount up to $1,500.00 per violation;

(e) Awarding Plaintiff and members of the FDCPA Class statutory damages

pursuant to 15 U.S.C. § 1692k;

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(f) Awarding Plaintiff and members of the classes their reasonable costs and

attorneys’ fees incurred in this action, including expert fees. pursuant to 15 U.S.C. § l692k and Rule

23 of the Federal Rules of Civil Procedure; and

(g) Awarding other and further relief as the Court may deem just and proper.

JURY TRlAL DEMANDED

Plaintiff hereby demands a trial by jury.

Dated: October 17, 2016

Respectfully submitted,

/s/ Michael L. Grecnwald

Michael L. Greenwald

James L. Davidson

Grecnwald Davidson Radbil PLLC
5550 Glades Road, Suite 500

Boca Raton, FL 33431
561-826-5477

561-961-5684 (Fax)
mgreenwald@gdrlawfirm.com
jdavidson@gdrlawfirm.com

Aaron D. Radbil

Grecnwald Davidson Radbil PLLC
106 East Sixth Street, Suite 913
Austin, Texas 78701

(512) 322-3912

(561) 961-5684 (Fax)
aradbil@gdrlawfinn.com

Counsel for Plaintiff and the proposed classes

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